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                                         ORDERED.


     Dated: October 07, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

In re:                                              Case No. 19-04573
                                                    Chapter 7
 MICHAEL T SHEPARDSON


         Debtor          /

   ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
     AND CENTURY 21 CARIOTI TO PROCURE CONSENTED PUBLIC SALE
               PURSUANT TO 11 U.S.C. §327, 328 AND 330

         Upon the Notice and Application of Arvind Mahendru, the trustee in the above-captioned

case (“Trustee”), to Retain BK Global Real Estate Services (“BKRES”) and Century 21 Carioti

(“Listing Agent”) to Procure Consented Public Sale pursuant to 11 U.S.C. § 327, 328 and 330

(“Application”) [DE#34], the Court having reviewed and considered the Application and the

Affidavit of Disinterestedness and having found good and sufficient cause appearing therefore and

the same to be in the best interest of Debtor and the creditors the Court hereby FINDS that:

            A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

            B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

         §§ 1408 and 1409.

            C. Notice of the Application was sufficient under the circumstances.

                  Based upon the foregoing findings of fact, it is hereby
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        ORDERED, ADJUDGED, AND DECREED that:

        1.     The Application is hereby GRANTED.

        2.     Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Affidavit.

        3.     The Trustee is authorized to retain and compensate BKRES and Listing Agent to

procure Secured Creditor’s Consent, and otherwise market and sell the Property, in Debtor’s

Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy

Rules 2014 and 2016, in accordance with the terms and conditions set forth in the BKRES

Agreement, the Listing Agreement and this Order. BKRES and Listing Agent shall not split or

otherwise share their fees with any other person or entity.

        4.     BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

        5.     BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.

        6.     BKRES and Listing Agent shall be authorized to receive and retain their fees from

Secured Creditor at the successful closing of the sale of the Property without necessity of further

order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall

have no liability for any such claim.
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       7.      Notice of the Application was adequate and proper.

       8.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
